                                            Case 3:07-cv-05944-JST Document 4563 Filed 04/15/16 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                    MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

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                                           This Order Relates To:                           ORDER REGARDING IMPROPER
                                  10                                                        FILINGS BY SHARP AND LG
                                                                                            ELECTRONICS
                                  11       ALL ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13             The deadline to file motions for leave to file certain new motions was April 12, 2016. ECF

                                  14   No. 4261. Several parties filed motions on or around that date. Sharp and LG Electronics

                                  15   (“LGE”), however, only filed motions to seal, ECF Nos. 4551, 4556, without separately filing the

                                  16   underlying motions in redacted form separately as required.1 Accordingly, the only new motions

                                  17   from Sharp and LGE currently before the Court are motions to seal. Sharp and LGE are hereby

                                  18   ORDERED to file the underlying motions, ECF Nos. 4551-3, 4556-3, separately, in redacted

                                  19   form, and without revisions or modifications, no later than April 18, 2016. Responses to the

                                  20   underlying administrative motions are now due by April 22, 2016.

                                  21             IT IS SO ORDERED.

                                  22   Dated: April 15, 2016
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                                                                                                      JON S. TIGAR
                                  24                                                            United States District Judge

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                                  28    Although the underlying motions, ECF Nos. 4551-3, 4556-3, were filed as attachments to the
                                       motions to seal, the underling motions were not filed separately for the Court’s consideration.
